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                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

IN RE:                                       §
 FREE SPEECH SYSTEMS, LLC                    §       CASE NO. 22-60043
                                             §       Chapter 11 (Subchapter V)
                                             §
                                             §       CHAPTER 11
           DEBTOR.                           §

         NOTICE OF SUBCHAPTER V TRUSTEE’S BILLING RATE INCREASE

               PLEASE TAKE NOTICE that effective January 1, 2023, the firm’s hourly

 billing rate for the undersigned Subchapter V trustee increased to $500.00 per hour. This

 rate increase will be implemented in the above captioned case effective February 1,

 2023.

  DATED: February 16, 2023                   Respectfully submitted,

                                             HASELDEN FARROW, PLLC

                                             By: /s/ Melissa A. Haselden    t
                                             MELISSA A. HASELDEN
                                             State Bar No. 00794778
                                             700 Milam, Suite 1300
                                             Pennzoil Place
                                             Houston, Texas 77002
                                             Telephone: (832) 819-1149
                                             Facsimile: (866) 405-6038
                                             Email: mhaselden@haseldenfarrow.com
                                             SUBCHAPTER V TRUSTEE FOR DEBTOR
                                             FREE SPEECH SYSTEMS, LLC

                                CERTIFICATE OF SERVICE
        I hereby certify that on February 16, 2023, a copy of the foregoing Notice of Rate Increase
was filed with the Court and served electronically upon those parties registered to receive
electronic notice via the Court’s CM/ECF System.

22-33553 Notice will be electronically mailed to:
Raymond William Battaglia on behalf of Creditor Free Speech Systems, LLC
rbattaglialaw@outlook.com, rwbresolve@gmail.com
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Ryan E Chapple on behalf of Creditor Carlee Soto Parisi
rchapple@cstrial.com, aprentice@cstrial.com

Ryan E Chapple on behalf of Creditor Carlos M Soto
rchapple@cstrial.com, aprentice@cstrial.com

Ryan E Chapple on behalf of Creditor David Wheeler
rchapple@cstrial.com, aprentice@cstrial.com

Ryan E Chapple on behalf of Creditor Donna Soto
rchapple@cstrial.com, aprentice@cstrial.com

Ryan E Chapple on behalf of Creditor Francine Wheeler
rchapple@cstrial.com, aprentice@cstrial.com

Ryan E Chapple on behalf of Creditor Ian Hockley
rchapple@cstrial.com, aprentice@cstrial.com

Ryan E Chapple on behalf of Creditor Jacqueline Barden
rchapple@cstrial.com, aprentice@cstrial.com

Ryan E Chapple on behalf of Creditor Jennifer Hensel
rchapple@cstrial.com, aprentice@cstrial.com

Ryan E Chapple on behalf of Creditor Jillian Soto-Marino
rchapple@cstrial.com, aprentice@cstrial.com

Ryan E Chapple on behalf of Creditor Mark Barden
rchapple@cstrial.com, aprentice@cstrial.com

Ryan E Chapple on behalf of Creditor Nicole Hockley
rchapple@cstrial.com, aprentice@cstrial.com

Ryan E Chapple on behalf of Creditor Robert Parker
rchapple@cstrial.com, aprentice@cstrial.com

Ryan E Chapple on behalf of Creditor William Aldenberg
rchapple@cstrial.com, aprentice@cstrial.com

Ryan E Chapple on behalf of Creditor William Sherlach
rchapple@cstrial.com, aprentice@cstrial.com

Vickie L Driver on behalf of Debtor Alexander E. Jones
Vickie.Driver@crowedunlevy.com, elisa.weaver@crowedunlevy.com;ecf@crowedunlevy.com

Notice of Appearance – Subchapter V Trustee    2
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Shelby A Jordan on behalf of Debtor Alexander E. Jones
cmadden@jhwclaw.com

Jarrod B. Martin on behalf of Creditor Leonard Pozner
jarrod.martin@chamberlainlaw.com,
Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;ginger.davis@chamberlainl
aw.com

Jarrod B. Martin on behalf of Creditor Marcel Fontaine
jarrod.martin@chamberlainlaw.com,
Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;ginger.davis@chamberlainl
aw.com

Jarrod B. Martin on behalf of Creditor Neil Heslin
jarrod.martin@chamberlainlaw.com,
Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;ginger.davis@chamberlainl
aw.com

Jarrod B. Martin on behalf of Creditor Scarlett Lewis
jarrod.martin@chamberlainlaw.com,
Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;ginger.davis@chamberlainl
aw.com

Jarrod B. Martin on behalf of Creditor Veronique De La Rosa
jarrod.martin@chamberlainlaw.com,
Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;ginger.davis@chamberlainl
aw.com

Avi Moshenberg on behalf of Creditor Leonard Pozner
avi.moshenberg@mhllp.com, patricia.flores@mhllp.com

Avi Moshenberg on behalf of Creditor Marcel Fontaine
avi.moshenberg@mhllp.com, patricia.flores@mhllp.com

Avi Moshenberg on behalf of Creditor Neil Heslin
avi.moshenberg@mhllp.com, patricia.flores@mhllp.com

Avi Moshenberg on behalf of Creditor Scarlett Lewis
avi.moshenberg@mhllp.com, patricia.flores@mhllp.com

Avi Moshenberg on behalf of Creditor Veronique De La Rosa
avi.moshenberg@mhllp.com, patricia.flores@mhllp.com

Ha Minh Nguyen on behalf of U.S. Trustee US Trustee
ha.nguyen@usdoj.gov

Notice of Appearance – Subchapter V Trustee   3
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Jayson B. Ruff on behalf of U.S. Trustee US Trustee
jayson.b.ruff@usdoj.gov

Christina Walton Stephenson on behalf of Debtor Alexander E. Jones
Crissie.Stephenson@crowedunlevy.com,
elisa.weaver@crowedunlevy.com;ecf@crowedunlevy.com

US Trustee
USTPRegion07.HU.ECF@USDOJ.GOV

                                              /s/ Melissa A. Haselden     t
                                              MELISSA A. HASELDEN




Notice of Appearance – Subchapter V Trustee     4
